Case 0:22-cr-60111-RS Document 44 Entered on FLSD Docket 07/25/2023 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 22-CR-60111-SMITH


  UNITED STATES OF AMERICA

  v.

  JOHANAH NAPOLEON,

                 Defendant.


          NOTICE OF SATISFACTION OF FORFEITURE MONEY JUDGMENT

        The United States gives notice of the satisfaction of the forfeiture money judgment entered

 against Johanah Napoleon (the “Defendant”) in in the above-captioned case. In support the United

 States submits the following.

        On December 20, 2022, the Court entered a Preliminary Order of Forfeiture, ECF No. 22,

 ordering the entry of a forfeiture money judgment against the Defendant in the amount of

 $250,000.00.

        On July 17, 2023, the Defendant made a $250,000.00 payment towards her forfeiture

 money judgment. The United States hereby provides notice that the $250,000.00 has been applied

 in full satisfaction of the Defendant’s forfeiture money judgment.
Case 0:22-cr-60111-RS Document 44 Entered on FLSD Docket 07/25/2023 Page 2 of 2




                                           Respectfully submitted,
                                           MARKENZY LAPOINTE
                                           UNITED STATES ATTORNEY

                                    By:    /s/ Nicole Grosnoff
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